Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 1 of 21
                            Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 2 of 21
                                                                  L'"NITED STATES DISTRICT COL'RT
                                                            FOR THE EASTER""i DISTRICT OF PENNSYLV A.""IIA

                                                                                 DESIGNATION FORM
                       (to be used by counsel or pro se plamtzff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

AddressofPlaintiff: __              ~fu ~~ 4 \~                                          g       L;u.-~ _2t,_J_LJ_11.~ fr'l;<rrE A_l11vi:. __                                          _

Address of Defendant: 5J!.l.U?.4_k__L_H.'/(                                 s.'&-o C LJ.'4.S__dL,_µ..10_3-6..Ll-_...._)J5'rs.J- (//,-_ $.[_£.-.c _
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                                                                                                                                             I/Ir"-.!.+. CJ,,.,r;,...,...,.._-k,l>f1       'J'Z.aC
Place of Accident, Incident or Transaction: __                      _!____ ~-t'r ~ i- . . . /". "r W ~ ~                       IL...' I~       1.,., L , <t,
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RELATED CASE, IF ANY:

Case Number~                                                             Judge                                                    Date I ermmated.

C1v1l cases are deemed related when Yes is answered to any of the following questions·

      Is this case related to property mcluded in an earlier numbered suit pendmg or within one year
      previously termmated action m this court?
                                                                                                                                     YesD                      No~
2     Does this case involve the same issue of fact or grow out of the same transaction as a pnor suit                               YesD                      No[f
      pending or within one year previously terminated act10n in this court9

3     Does this case mvolve the val1d1ty or mfringement of a patent already m suit or any earlier                                    YesD                      No[{t-
      numbered case pending or withm one year prev1ousl~::i~ted ac:ion of this court? __ _                                                                        ....J__
4     Is this case a second or successive habe
      case filed by the same inclivid
                                                                rpus;Social secunty appeal, or prose civil righ~ , -
                                                                                                                "\
                                                                                                                                                I              No L_J


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                                                                         ~
I certify that, to my kn    edge, the within case                   is           not related to any case now pending or within one year previously termmated action in
this court except      oted above                                                                      y                  Q
DATE                        _     rt> ( r?-! \-(_                   _      L----c (___-/'-'--.
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                                                                                 Attorney-at-Law I Pro Se Plaintzff
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                                                                                                                                                    ttorney ID # (tj applicable)




A.                              n Cases:                                                          B.    Div

D r.         Indemnity Contract, Marme Contract, and All Other Contracts                                      Insurance Contract and Other Contracts
D 2.         FELA                                                                                             Airplane Personal Injury
D 3.         Jones Act-Personal Injury                                                                        Assault, Defamation
D 4.         Antitrust                                                                                        Marme Personal Injury

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D
       5.
       6.
       7
             Patent
             Labor-Management Relations
             Civil Rights
                                                                                                              Motor Vehicle Personal Injury
                                                                                                              Other Personal Injury (Please specify) _ _ _ __
                                                                                                              Products Liability
D s          Habeas Corpus                                                                                    Products Liability Asbestos
D 9.         Secunties Act(s) Cases                                                               D           All other D1vers1ty Cases
D 10         Social Secunty Review Cases                                                                      (Please specify) _ _       __
                                                                                                                                                               --------
o      11    All other Federal Question Cases
             (Please specify) __            __ _ _ _ _ __



                                                                                  ARBITRATION CERTIFICATION
                                                         (The effect of this certzficatzon 1s to remove the case from elzgib1lzty for arb1tratwn)

I, ___                                  _     ___          -~counsel        of record or prose plamtlff, do hereby certify



     D       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief: the damages recoverable in this civil action case
             exceed the sum of$150,000 00 exclusive ofmterest and costs:


     D        Rellef_o_th                            a_g_e_s_is_s_o_u_g_ht_._/~'1'"--::::::::/~cL
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DATE_.ltT/ir:F(TX_
                                                                                 Attorney-at-Law I Pro Se Plazntzff                             Attorney ID # (if applicable)

NOTE A tnal de novo will be a tnal by JUIY only 1fthere has been compliance with F RC P 38

Civ 609 (5'2018)
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 3 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 4 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 5 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 6 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 7 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 8 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 9 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 10 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 11 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 12 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 13 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 14 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 15 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 16 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 17 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 18 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 19 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 20 of 21
Case 2:18-cv-04465-PBT Document 1 Filed 10/17/18 Page 21 of 21
